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IN THE UNITED sTATEs DIsTRICT coURT F“£D B"’ -~ ~1 ~-- °'°'
FOR THE WESTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 05 AUG 25 PH 3- 26
HG…-Q 0 TP§"T OOURI
UNITED sTATEs 0F AMERICA CLE§%§JU@, §§j` §§§’_§§§-§§3
V.
DONNELL CAMPBELL 05¢r20237-M1
0RDER 0N ARRAIGNMENT
This cause came to be heard on OS’/aS/O.S the United States Attorney

 

for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAME ml CH-A' l;-§ @b§)|d$ who is Retainedeppointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

_The defendant, who ls not m custody, may stand on his present bond.
/’ The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U S Marshal. "'_’
C§’ "JM§ g ;A.i:¢

UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18 USC 922(g)
firearms

Attorney assigned to Case: G. Gilluly

Age: 2§

Thls document entered on the docket

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number ll in
case 2:05-CR-20237 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed

 

 

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Honorable J on McCalla
US DISTRICT COURT

